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 4
 5                      IN THE UNITED STATES DISTRICT COURT
 6                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   ROBERT SULLIVAN; MARLENE               )
     SULLIVAN,                              )
 9                                          )    2:10-cv-00384-GEB-EFB
                     Plaintiffs,            )
10                                          )
                v.                          )    ORDER GRANTING AND DENYING IN
11                                          )    PART DEFENDANT’S MOTION TO
     JP MORGAN CHASE BANK, NA, and          )    DISMISS
12   DOES 1 through 100, inclusive,         )
                                            )
13                   Defendant.             )
                                            )
14
15              Defendant moves for dismissal of Plaintiffs’ Complaint under
16   Federal Rule of Civil Procedure 12(b)(6) (“Rule 12(b)(6)”), arguing
17   Plaintiffs have failed to allege sufficient facts to state viable
18   claims. For the reasons stated below, the motion is granted and denied
19   in part.
20                                 I. LEGAL STANDARD
21              A Rule 12(b)(6) dismissal motion tests the legal sufficiency
22   of the claims alleged in the complaint. Novarro v. Black, 250 F.3d 729,
23   732 (9th Cir. 2001).       A pleading must contain “a short and plain
24   statement of the claim showing that the pleader is entitled to relief
25   . . . .”     Fed. R. Civ. P. 8(a)(2).         The complaint must “give the
26   defendant fair notice of what the [plaintiff’s] claim is and the grounds
27   upon which relief rests . . . .”       Bell Atlantic Corp. v. Twombly, 550
28   U.S. 544, 555 (2007).

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 1                Dismissal of a claim under Rule 12(b)(6) is appropriate only
 2   where the complaint either 1) lacks a cognizable legal theory, or 2)
 3   lacks factual allegations sufficient to support a cognizable legal
 4   theory. Balistreri v. Pacific Police Dept., 901 F.2d 696, 699 (9th Cir.
 5   1988). To avoid dismissal, the plaintiff must allege “only enough facts
 6   to state a claim to relief that is plausible on its face.”            Twombly, 550
 7   U.S. at 547.
 8                In deciding a Rule 12(b)(6) motion, the material allegations
 9   of the complaint are accepted as true and all reasonable inferences are
10   drawn in favor of the plaintiff.         See al-Kidd v. Ashcroft, 580 F.3d 949,
11   956 (9th Cir. 2009).       However, neither conclusory statements nor legal
12   conclusions are entitled to a presumption of truth.              See Ashcroft v.
13   Iqbal, 129 S. Ct. 1937, 1949-50 (2009); Twombly, 550 U.S. at 555.
14                If a Rule 12(b)(6) motion is granted, the “district court
15   should grant leave to amend even if no request to amend the pleadings is
16   made, unless it determines that the pleading could not possibly be cured
17   by the allegation of other facts.” Lopez v. Smith, 203 F.3d 1122, 1127
18   (9th Cir. 2000)(quoting Doe v. U.S., 58 F.3d 484, 497 (9th Cir. 1995)).
19                Defendant’s motion includes a request that the Court take
20   judicial notice of two Deeds of Trust recorded on December 3, 2007 with
21   the Nevada County Recorder. (Defendant’s Request for Judicial Notice
22   (“RJN”) Exs. 1-2.) Plaintiffs do not oppose Defendant’s request.
23                “As a general rule, a district court may not consider any
24   material beyond the pleadings in ruling on a Rule 12(b)(6) motion.”               Lee
25   v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001) (quotations
26   and citation omitted).        However, a court may consider matters properly
27   subject to judicial notice. Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th
28   Cir.    2007).   A   matter   may   be   judicially   noticed   if   it   is   either

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 1   “generally known within the territorial jurisdiction of the trial court”
 2   or “capable of accurate and ready determination by resort to sources
 3   whose accuracy cannot reasonably be questioned.”               Fed. R. Evid. 201(b).
 4               Since the Deeds of Trust are publically recorded documents,
 5   they may be judicially noticed.        See W. Fed. Sav. & Loan Ass’n v. Heflin
 6   Corp., 797 F. Supp. 790, 792 (1992)(taking judicial notice of documents
 7   in a county’s public record, including deeds of trust).                    Therefore,
 8   Defendant’s request that these documents be judicially noticed is
 9   granted.
10                                      III. BACKGROUND
11               Plaintiffs obtained two loans from Defendant around November
12   of 2007, which were secured by their home in Grass Valley, California.
13   (Compl. ¶¶ 6, 45.) The loans were memorialized in Promissory Notes
14   secured by Deeds of Trust on the property. (Id. ¶ 45.) The Deeds of
15   Trust identify Defendant as the lender. (RJN, Exs. 1-2.)
16               Plaintiffs allege Defendant directed them into unaffordable
17   loans and subsequently misrepresented that permanent loan modifications
18   would be made. (Id. ¶¶ 11-49.) Specifically, Plaintiffs allege Defendant
19   represented that “the loan[s were] the best loan[s] available on the
20   market,”    procured   the    loans   on   “false   information      of    plaintiff’s
21   income,” over appraised the value of the property, and did not disclose
22   “to plaintiffs their likely inability to make the monthly payments due
23   on   the   loan[s].”   (Id.   ¶¶    12.)   Plaintiffs    also     allege    when   they
24   approached Defendant to modify the terms of their loans to reduce their
25   monthly    payments,    it    “misrepresented...        that     a   permanent     loan
26   modification would be put in place;” Plaintiffs’ monthly payments were
27   reduced for six months, but no permanent modification was made. (Id. ¶¶
28   (Id. ¶¶ 18-20.)

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 1                                     IV. DISCUSSION
 2               Plaintiffs   allege    ten    claims       against   Defendant      in   their
 3   Complaint under federal and state law.
 4   1.   Truth in Lending Act Claims
 5               Defendant argues Plaintiffs’ Truth in Lending Act (“TILA”)
 6   claims should be dismissed. Specifically, Defendant contends Plaintiffs’
 7   TILA damages claim is barred by the applicable one-year statute of
 8   limitations, and Plaintiffs’ TILA rescission claim is defective because
 9   Plaintiffs failed to allege “the ability to tender or reinstate the
10   subject loan transactions.” (Def.’s Mot. to Dismiss (“Mot.”) 2:8-9,
11   2:22-23.) Plaintiffs counter their damages claim should not be dismissed
12   because they have alleged sufficient facts to show the statute of
13   limitations   is   equitably    tolled.       (Pls.’    Opp’n    to    Mot.   to   Dismiss
14   (“Opp’n”)   2:17-25.)    Plaintiffs      also    rejoin    that       their   ability   to
15   “tender” is not an element required to be plead, and in the alternative,
16   they have sufficiently alleged the tender element. (Opp’n 3:20-22.)
17         a.   TILA Damages Claim
18               TILA “requires creditors to provide borrowers with clear and
19   accurate disclosures of terms dealing with things like finance charges,
20   annual percentage rates of interest, and the borrower’s rights.”                     Beach
21   v. Ocwen Fed. Bank, 523 U.S. 410, 412 (1998)(citing 15 U.S.C. §§ 1631,
22   1632, 1635, 1638)).      Failure to satisfy TILA’s disclosure requirements
23   subjects a lender to “statutory and actual damages traceable to a
24   lender’s failure to make the requisite disclosures . . . .”                   Id. (citing
25   15 U.S.C. § 1640(e)).      TILA imposes a one-year statute of limitations
26   within which a claim for damages “may be brought.”               15 U.S.C. § 1640(e).
27   “[A]s a general rule[, this] limitations period starts [to run] at the
28   consummation of the transaction.” King v. California, 784 F.2d 910, 915

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 1   (9th Cir. 1986).         However, “the doctrine of equitable tolling may, in
 2   the appropriate circumstances, suspend the limitations period,” such as
 3   when the borrower did not have reasonable opportunity to discover the
 4   alleged fraud or nondisclosures that form the basis of the plaintiff’s
 5   TILA claim. Id.
 6                 “Because    the    applicability     of    [equitable    tolling]    often
 7   depends upon matters outside the pleadings, it is not generally amenable
 8   to resolution on a Rule 12(b)(6) motion.”                    Supermail Cargo, Inc. v.
 9   U.S.,    68   F.3d    1204,   1206   (9th   Cir.   1995)(quotations      and    citation
10   omitted). Nonetheless, when a plaintiff fails to allege any facts
11   demonstrating the TILA violations alleged could not have been discovered
12   by due diligence during the one-year statutory period, equitable tolling
13   should    not    be    applied    and   dismissal       at   the   pleading    stage   is
14   appropriate.     See Meyer v. Ameriquest Mortg. Co., 342 F.3d 899, 902 (9th
15   Cir. 2003)(dismissing TILA claim, despite request for equitable tolling,
16   because plaintiff was in possession of all loan documents and did not
17   allege any concealment or other conduct that would have prevented
18   discovery of the alleged TILA violations during the one year limitations
19   period).
20                 Plaintiffs allege Defendant violated TILA as follows: by
21   failing to give Plaintiffs “the mortgage documents,” “disclosures,” and
22   “notices” “until after the settlement had taken place;” failing to group
23   together and segregate the required disclosures; and “inflat[ing] the
24   acceleration fees.” (Compl. ¶ 65.) Further, Plaintiffs allege “the facts
25   surrounding this loan transaction were purposefully hidden to prevent
26   [them] from discovering the true nature of the transaction and the
27   documents involved therein....” (Id.               ¶ 43.)      Plaintiffs also allege
28   these TILA violations were “all discovered within the past year, such

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 1   that any applicable statute of limitations are extended or should be
 2   extended pursuant to the equitable tolling doctrine....” (Id.                   ¶ 49.)
 3                  Plaintiffs’       conclusory         concealment       allegations     are
 4   insufficient to show the statute of limitations period is equitably
 5   tolled. The TILA violations about which Plaintiffs complain occurred at
 6   or prior to the closing of Plaintiffs’ loan transactions in November of
 7   2007, more than two years before the commencement of this action.
 8   Plaintiffs       fail     to   allege   what       prevented   them   from   discovering
 9   Defendant’s alleged TILA violations within the one year statutory
10   period.      See Ahmad v. World Savings Bank, No. CIV 2:09-520 GEB KJM, 2010
11   WL 1854108, at *2 (E.D. Cal. May 6, 2010)(citing Adams v. SCME Mortgage
12   Bankers, Inc., No. CIV 1:09-201 LJO SMS, 2009 WL 1451715, at *9 (E.D.
13   Cal.     May    22,     2009)(finding   equitable       tolling   inapplicable      since
14   plaintiff failed to allege facts explaining how she was prevented from
15   comparing her loan documents and disclosures with TILA statutory and
16   regulatory requirements)). Therefore, Plaintiffs’ TILA damages claim is
17   dismissed.
18           b.   TILA Rescission Claim
19                  Defendant’s motion to dismiss Plaintiffs’ TILA rescission
20   claim is based on its argument that Plaintiffs have not alleged their
21   ability to tender the property or its reasonable value, which Defendant
22   alleges is required to state a TILA rescission claim. However, Defendant
23   fails to provide binding authority to support its position that a
24   plaintiff’s ability to tender must be alleged at the pleading stage.
25   Therefore, Defendant’s motion to dismiss Plaintiffs’ TILA rescission
26   claim is denied.
27   ///
28   ///

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 1   2.    The Rosenthal Act
 2              Defendant seeks dismissal of Plaintiffs’ Rosenthal Fair Debt
 3   Collections Practices Act (“Rosenthal Act”) claim, arguing mortgage
 4   loans are not debt under the Act, and Plaintiffs failed to allege which
 5   sections   of   the    Act   Defendant   violated     “beyond   the     boilerplate
 6   allegations asserted in support of this claim.” (Mot. 4:11-12, 4:20-22.)
 7              Plaintiffs’ Rosenthal Act claim alleges only that “Defendants
 8   Aurora and Homecomings are debt collectors within the meaning of the
 9   Rosenthal Act.”(Compl. ¶ 72.) However, these defendants are not named in
10   the caption or elsewhere in the complaint. Since Plaintiffs did not
11   allege the only named defendant is a “debt collector,” the claim’s
12   sufficiency is not analyzed, and it is dismissed.
13   3.    Negligence
14              Defendant    argues   Plaintiffs’       negligence   claim     should   be
15   dismissed because it is barred by the applicable statute of limitations,
16   and Plaintiffs have not alleged facts showing that Defendant owed them
17   a duty of care. (Mot. 5:4-5, 6:4-8.)
18         a.   Duty of Care
19              The elements of a negligence claim are, 1) defendant owed
20   plaintiff a duty of care, 2) defendant breached that duty, 3) the breach
21   was the proximate or legal cause of the resulting injury, and 4)
22   plaintiff was damaged. Ladd v. County of San Mateo, 12 Cal.4th 913, 917
23   (1996). The existence of a Defendant's legal duty is a question of law
24   to be determined by the court. Kentucky Fried Chicken of California,
25   Inc. v. Sup. Ct., 14 Cal.4th 814, 819 (1997).
26              Under   California    law,    “as   a   general   rule,    a   financial
27   institution owes no duty of care to a borrower when the institution’s
28   involvement in the loan transaction does not exceed the scope of its

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 1   conventional role as a mere lender of money.” Nymark v. Heart Fed. Sav.
 2   & Loan Ass’n, 231 Cal. App. 3d 1089, 1096 (1991).                A duty of care can be
 3   imposed upon the lender, however, in certain circumstances, such as
 4   where “the lender’s activities exceed those of a conventional lender.”
 5   Osei v. Countrywide Home Loans, 2010 WL 727831, at *6. “In California,
 6   the test for determining whether a financial institution owes a duty of
 7   care to a borrower-client ‘involves the balancing of various factors,
 8   among which are [1] the extent to which the transaction was intended to
 9   affect the plaintiff, [2] the foreseeability of harm to him, [3] the
10   degree     of    certainty    that   the     plaintiff   suffered      injury,   [4]   the
11   closeness of the connection between the defendant's conduct and the
12   injury     suffered,    [5]   the    moral    blame   attached    to   the   defendant's
13   conduct, and [6] the policy of preventing future harm.’” Nymark, at 1098
14   (quoting Connor v. Great Western Sav. & Loan Assn. 69 Cal.2d 850, 865
15   (1968)).
16                   Plaintiffs allege Defendant negligently directed them into a
17   loan for which they “[were] not qualified . . . [and that was] not in
18   [their] best interests based upon [their] income and the true value of
19   the Property;” directed them “into a loan transaction that [they] may
20   not have otherwise qualified for by industry standards, resulting in
21   excessive fees... and payments in excess of [their] ability to pay;” and
22   “failed to abide by TILA and RESPA laws.” (Compl. ¶¶ 78-80.) Plaintiffs'
23   negligence claim also incorporates all earlier allegations. (Compl. ¶
24   76.)
25                   Plaintiffs argue in their Opposition that a number of the
26   incorporated allegations support a finding that Defendant owed them a
27   duty of care. Specifically, Plaintiffs argue Defendant owed them a duty
28   of care 1) not to falsify their income and over appraise the property

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 1   for the purpose of directing them into unfavorable loans, and 2) “not to
 2   misinform [them] about the loan modification process.” (Opp'n 6:23-7:5,
 3   7:15-17.)
 4                 Plaintiffs       have    provided      no    authority     to    support   their
 5   argument that lenders owe borrowers a duty of care not to misinform
 6   them     about   the   loan     modification         process.      Therefore,    Plaintiffs’
 7   allegations that Defendant misrepresented to them that a permanent loan
 8   modification would be put into place are insufficient to form the basis
 9   of a negligence claim.
10                 However, Defendant has not shown Plaintiffs’ allegations that
11   it falsified their income and the subject property’s value during the
12   loan application process fall within its traditional role as a money
13   lender.      Therefore,    these       allegations         are    sufficient    to   state   a
14   negligence claim. See Watkinson v. Mortgageit, Inc., No. 10-cv-327-IEG,
15   2010    WL   2196083,     at    *8-9    (S.D.       Cal.   June    1,   2010)(holding    that
16   overstating Plaintiff's income and the value of the property on the loan
17   application knowing both to be false stated a negligence claim).
18           b.    Statute of Limitations
19                 Under California law, negligence claims have a two year
20   statute of limitations. Cal. Code of Civ. Proc. § 355.1. Since the loans
21   at issue were entered into in November of 2007, and Plaintiffs filed
22   their Complaint in December of 2009, Defendant argues Plaintiffs'
23   negligence claim is barred by the statute of limitations. (Mot. 5:9-10.)
24   Plaintiffs respond, arguing their negligence claim did not “accrue” when
25   the loan documents were signed. (Opp’n 5:21-22.)
26                 The statute of limitations for Plaintiffs’ negligence claim
27   did not begin to run until the claim "accrued." Cal. Code Civ. Proc. §
28   312. A claim “accrues” upon the occurrence of the claim's last essential

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 1   element. Norgart v. Upjohn Co., 21 Cal.4th 383, 397 (1999). “When
 2   damages are an element of a cause of action, the cause of action does
 3   not accrue until the damages have been sustained. Mere threat of future
 4   harm, not yet realized, is not enough.” City of Vista v. Robert Thomas
 5   Securities, Inc., 84 Cal.App.4th 882, 886 (2000).
 6                 Plaintiffs’ allegations support the inference that they did
 7   not experience any injury until they were unable to make their mortgage
 8   payments    in      the    spring   of    2009.     (Compl.   ¶¶   18-20.)    See   Osei   v.
 9   Countrywide      Home      Loans,    2010    WL     727831,   at   *9   (holding    similar
10   allegations supported that the plaintiff’s negligence claim did not
11   “accrue” until plaintiff’s loan payments exceeded his ability to pay).
12   Therefore, Defendant has not shown that Plaintiffs’ negligence claim is
13   barred by the applicable statute of limitations.
14                 For    the    stated       reasons,    Defendant’s     motion    to   dismiss
15   Plaintiffs’ negligence claim is granted and denied in part.
16   4.    RESPA
17                 Defendant seeks dismissal of Plaintiffs' section 2605 Real
18   Estate Settlement Procedures Act ("RESPA") claim, arguing Plaintiffs'
19   "conclusory allegations... are wholly insufficient to put Defendants on
20   notice as to what conduct forms the basis of the RESPA claim." (Mot.
21   6:16-17.)
22                 Plaintiffs allege the following in support of their RESPA
23   claim: “Defendants violated RESPA at the time of the closing of the Loan
24   subject to this Complaint by failing to correctly and accurately comply
25   with one or more of the disclosure requirements provided therein.”
26   (Compl. ¶¶ 86-87.) This allegation is conclusory and does not identify
27   what information, if any, Defendant failed to disclose or inaccurately
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 1   disclosed.    See   Champlaie,   2009   WL   3429622,   at   *17   (finding   same
 2   allegations insufficient to state a section 2605 RESPA claim).
 3               Defendant   also   argues   Plaintiffs’     RESPA   claim   should   be
 4   dismissed since "Plaintiff fails to allege any damage” resulting from a
 5   purported RESPA violation. (Mot. 6:19.)
 6               Plaintiffs must allege actual harm to plead a section 2605
 7   RESPA claim. Pok v. Am. Home Mortgage Servicing, Inc., No. CIV 2:09-2385
 8   WBS EFB, 2010 WL 476674, at *5 (E.D. Cal. Feb. 3, 2010); see also Lal v.
 9   Am. Home Servicing, Inc., 680 F. Supp. 2d 1218, 1223 (E.D. Cal. 2010).
10   Further, “[t]he loss alleged must be related to the RESPA violation
11   itself....[A]llegations made under a separate cause of action are
12   insufficient to sustain a RESPA claim for actual damage.... Nor does
13   simply having to file suit suffice as a harm warranting actual damages.”
14   Lal, 680 F.Supp.2d at 1223.
15               Here, Plaintiffs allege “[a]s a result of Defendant’s failure
16   to comply with RESPA, Plaintiff has suffered and continues to suffer
17   damages and costs of suit.” (Compl. ¶ 88.) “Even under a liberal
18   pleading standard for harm, this level of generality fails.”            Pok, 2010
19   WL 476674, at *5 (finding same allegation of harm insufficient to state
20   a section 2605 claim for actual damages). Therefore, Plaintiffs’ RESPA
21   claim is dismissed.
22   5.    Breach of Fiduciary Duty
23               Defendant seeks dismissal of Plaintiffs’ breach of fiduciary
24   duty claim, arguing a lender does not owe a fiduciary duty to a borrower
25   under California law. (Mot. 7:11-14.)
26               In California, to state a claim for breach of fiduciary duty,
27   a plaintiff must allege: (1) the existence of a fiduciary relationship;
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 1   (2) the breach of that relationship; and (3) damage proximately caused
 2   thereby.      Roberts v. Lomanto, 112 Cal. App. 4th 1553, 1562 (2003).
 3                 Plaintiffs allege Defendant “is the lender of the loan which
 4   is   the   subject    of   this   action.”   (Compl.   ¶   8.)   “Absent   special
 5   circumstances[,]     . . . a loan transaction is [an] at arms-length
 6   [transaction] and there is no fiduciary relationship between the borrower
 7   and lender.”     Oaks Mgmt. Corp. v. Superior Court, 145 Cal. App. 4th 453,
 8   466 (2006).      “A commercial lender is entitled to pursue its economic
 9   interest in a loan transaction.         This right is inconsistent with the
10   obligations of a fiduciary, which require that the fiduciary knowingly
11   agree to subordinate its interests to act on behalf of and for the
12   benefit of another.” Gonzalez v. First Franklin Loan Services, No. 1:09-
13   CV-00941 AWI-GSA, 2010 WL 144862, at *13 (E.D. Cal. Jan. 11, 2010)(citing
14   Nymark, 231 Cal.App.3d at 1093, n. 1).
15                 Plaintiffs’ allege in their fiduciary duty claim:
16                 Defendants were agents for the Plaintiff by express
                   and implied contract and by operation of law. [¶]
17                 Plaintiff[s] employed Defendant as [their] agents
                   for the purpose of obtaining a loan for the
18                 Property. [¶] Defendants... owed a fiduciary duty
                   to the Plaintiff to act primarily for [their]
19                 benefit....”
20   (Compl. ¶¶ 90, 92, 94.) These allegations are conclusory and insufficient
21   to support the existence of a fiduciary relationship between Plaintiffs
22   and Defendant. Therefore, Plaintiffs’ breach of fiduciary duty claim is
23   dismissed.
24   6.    Fraud
25                 Defendant seeks dismissal of Plaintiffs’ fraud claim, arguing
26   it fails to comply with Federal Rule of Civil Procedure 9(b)(“Rule
27   9(b)”)’s heightened pleading standard. (Mot. 9:1.)
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 1               Under California law, the elements of a fraud claim are: (1)
 2   misrepresentation     (including,    false     representation,    concealment,      or
 3   nondisclosure); (2) knowledge of falsity; (3) intent to induce reliance;
 4   (4) justifiable reliance; and (5) resulting damage. Engalla v. Permanente
 5   Medical Group, Inc., 15 Cal.4th 951, 974 (1997).
 6               A claim for fraud in federal court must satisfy Rule 9(b)’s
 7   heightened pleading requirements. See Vess v. Ciba-Geigy Corp., 317 F.3d
 8   1097, 1103 (9th Cir. 2003). This rule provides that “[i]n alleging fraud
 9   or mistake, a party must state with particularity the circumstances
10   constituting fraud or mistake.”           The required specificity includes the
11   “time, place, and specific content of the false representations as well
12   as the identities of the parties to the misrepresentations.”               Swartz v.
13   KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007)(quoting Edwards v. Marin
14   Park, Inc., 356 F.3d 1058, 1066 (9th Cir. 2004)).
15               Plaintiffs' following allegations support their fraud claim:
16               The material representations made by Defendants in
                 connection with the said loan were false. [¶]
17               Defendants knew that these material representations
                 were   false   when   made,   or   these   material
18               representations were made with reckless disregard
                 for the truth. Defendants intended that Plaintiff
19               rely on these material representations. Plaintiff
                 reasonably relied on said representations. [And a]s
20               a result of Plaintiff['s] reliance, he was harmed
                 and suffered damages....
21
22   (Compl. ¶¶ 103-107.)
23               These   allegations   are     conclusory   and   do   not   provide    the
24   specificity required by Rule 9(b). Plaintiffs argue, however, that their
25   fraud claim nonetheless satisfies Rule 9(b) because it incorporates all
26   earlier allegations by reference, and that certain of these incorporated
27   allegations satisfy Rule 9(b)'s requirements. (Opp'n 9:24-10:4.) Contrary
28   to   Plaintiffs’    contention,     the    incorporated   allegations      are    also


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 1   inadequate to allege fraud since they fail to identify the time, date,
 2   and place of the alleged misrepresentation(s) or the identity of who made
 3   them. Therefore, Plaintiffs’ fraud claim is dismissed.
 4                7.    California Business & Professions Code § 17200
 5                Defendant     argues     Plaintiffs'      California    Business       and
 6   Professions Code section 17200 (“§ 17200") claim should be dismissed
 7   because Plaintiffs' allegations are conclusory, and Plaintiffs have not
 8   alleged they suffered "an injury in fact" and "lost either money or
 9   property" as a result of any § 17200 violation.             (Mot. 9:19-9:21, 10:25-
10   11:1.)
11                California’s Unfair Competition Law, Cal. Bus. & Prof. Code §
12   17200, prohibits “unlawful, unfair or fraudulent” business acts and
13   practices. Because "unfair competition" is defined in the disjunctive,
14   the    statute    establishes   three       separate   types   actionable    conduct,
15   prohibiting       practices   that    are     either   "unfair,"    "unlawful,"      or
16   "fraudulent." Cel-Tech Communic’ns, Inc. v. Los Angeles Cellular Tel.
17   Co., 20 Cal. 4th 163, 180 (1999). “By proscribing ‘any unlawful’ business
18   practice, section 17200 ‘borrows' violations of other laws and treats
19   them    as   unlawful    practices   that    the   unfair   competition     law   makes
20   independently actionable.”          Id. (citation omitted).
21                To state a § 17200 claim, Plaintiff must allege he             “suffered
22   injury in fact and has lost money or property.” Cal. Bus. & Prof. Code
23   § 17204.     A plaintiff suffers an “injury in fact” when he or she has “1)
24   expended money due to the defendant’s acts of unfair competition, 2) lost
25   money or property; or 3) been denied money to which he or she has a
26   cognizable claim.” Hall v. Time Inc., 158 Cal.App.4th 847, 854 (2008).
27                Plaintiffs' only allegation specifying the conduct underlying
28   the § 17200 claim is that “Plaintiff is informed and believes, that


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 1   Defendants' acts, as alleged herein, constitute unlawful, unfair, and/or
 2   fraudulent business practices, as defined in the California Business and
 3   Professions Code § 17200 et seq.” (Compl. ¶ 111.)
 4               This   allegation   sufficiently     states   a   §   17200   claim   for
 5   unlawful business practices since Defendant’s dismissal motion is denied
 6   as to Plaintiffs’ TILA rescission and negligence claims. Defendant has
 7   not shown that these claims do not provide “unlawful” predicate activity
 8   that may support Plaintiffs’ § 17200 claim. Further, since Plaintiffs
 9   allege they have suffered monetary losses as a result of Defendant's
10   unlawful conduct, including the expenditure of a down payment and ongoing
11   loan payments, they have adequately alleged that they suffered an "injury
12   in fact." (Compl. ¶¶ 37, 38, 40, 68 and p. 29:20-21.) Therefore,
13   Defendant’s motion to dismiss Plaintiffs' § 17200 claim is denied.
14   8.    Breach of Contract
15               Defendant seeks dismissal of Plaintiffs' breach of contract
16   claim, arguing "[t]hough Plaintiffs contend [the parties] entered into
17   a written agreement, Plaintiffs fail to identify the agreement,” allege
18   its terms, or any facts which establish that Defendant breached "the
19   purported agreement." (Mot. 11:12-16.)
20               In California, "[a] cause of action for breach of contract
21   requires proof of the following elements: (1) existence of the contract;
22   (2) plaintiff's performance or excuse for nonperformance; (3) defendant's
23   breach; and (4) damages to plaintiff as a result of the breach."                  CDF
24   Firefighters v. Maldonado, 158 Cal. App. 4th 1226, 1239 (2008).
25               Plaintiffs    identify   the     Promissory   Notes   as   the   written
26   agreements at issue in their opposition to the motion. (Opp'n 11:22-24.)
27   Plaintiffs allege Defendant violated these agreements as follows:
28


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 1               [B]y failing to exercise reasonable efforts and due
                 diligence as promised resulting in Plaintiff
 2               entering into a loan that was not in his best
                 interests. Defendants also breached their agreement
 3               with Plaintiff by committing the acts stated
                 herein, including but not limited to failing to
 4               submit an accurate loan application, failing to
                 supervise, failing to provide loan documents for
 5               Plaintiff['s] review prior to closing, and failing
                 to explain the loan documents to the Plaintiff.
 6
 7   (Compl. ¶ 118.) However, Plaintiffs do not allege that the promissory
 8   notes imposed such obligations on Defendant. See Quintero Family Trust
 9   v. Onewest Bank F.S.B., No. 09-CV-1561-IEG (WVG), at *13 (S.D. Cal. Jan.
10   27, 2010)(citing Frances T. v. Vill. Green Owners Ass'n, 42 Cal.3d 490,
11   512-513 (1986))(dismissing breach of contract claim based upon Promissory
12   Note and Deed of Trust where the plaintiffs did not allege which specific
13   provisions in the agreements imposed the duties upon defendants alleged
14   by plaintiff).
15               Plaintiffs     also    argue        that   Defendant's   alleged    oral
16   misrepresentations that it would permanently modify their loans support
17   their breach of contract claim. (Opp'n 11:24-25.) However, under the
18   breach of contract claim, Plaintiff alleges only that the parties entered
19   into a “written agreement.” (Compl. ¶ 116.) Plaintiffs did not allege the
20   existence    of   any   oral   agreement.       Therefore,   Plaintiffs’   breach   of
21   contract claim is dismissed.
22   9.    Breach of Implied Covenant of Good Faith & Fair Dealing
23               Defendant seeks dismissal of Plaintiffs’ breach of the covenant
24   of good faith and fair dealing claim, arguing Plaintiffs have not alleged
25   a “special relationship” between the parties necessary to recover tort
26   damages, and Plaintiffs failed to allege two of the requisite elements
27   of this claim. (Mot. 12:13-14, 12:22-23, 12:27-28.) Plaintiffs respond
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 1   with the conclusory argument that “there is a special relationship
 2   between the parties." (Opp’n 12:21-24.)
 3             “There is an implied covenant of good faith and fair dealing
 4   in every contract that neither party will do anything which will injure
 5   the right of the other to receive the benefits of the agreement.”
 6   Comunale v. Traders & General Ins. Co., 50 Cal.2d 654, 658 (1958).        The
 7   implied covenant “rests upon the existence of some specific contractual
 8   obligation.   [It] is read into contracts in order to protect the express
 9   covenants or promises of the contract, not to protect some general public
10   policy interest not directly tied to the contract’s purpose.” Racine
11   Laramie, Ltd. v. Dept. of Parks & Recreation, 11 Cal.App.4th 1026, 1031
12   (1992). The implied covenant “cannot impose substantive duties or limits
13   on the contracting parties beyond those incorporated in the specific
14   terms of [the parties’] agreement.” McClain v. Octagon Plaza, LLC, 159
15   Cal.App.4th 784, 799 (2008).      Further, the implied covenant “does not
16   require parties to negotiate in good faith prior to any agreement.”
17   McClain, 159 Cal. App. 4th at 799.
18             Since the implied covenant is based in contract, compensation
19   for its breach is almost always limited to contractual remedies. Foley
20   v. Interactive Data Corp., 47 Cal.3d 654, 684 (1988).        Tort remedies are
21   only available when "the parties are in a ‘special relationship’ with
22   ‘fiduciary characteristics.’”     Pension Trust Fund v. Federal Ins. Co.,
23   307 F.3d 944, 955 (9th Cir. 2002)(applying California law)(citing Mitsui
24   Mfrs. Bank v. Superior Court, 212 Cal. App. 3d 726, 730 (1989)). “A
25   central test of whether a lender is subject to this tort is whether there
26   is a fiduciary relationship in which the financial dependence or personal
27   security by the damaged party has been entrusted to the other.”           Id.
28   (quotations and citations omitted).


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 1                Plaintiffs allege in this claim that “a duty of good faith and
 2   fair dealing was implied by law into the contract at issue in this action
 3   at its inception." (Compl. ¶ 122.) Plaintiffs further allege Defendant
 4   breached this duty as follows:
 5                a. By failing to pay at least as much in regards to
                  Plaintiffs' interests as to Defendants' interests;
 6
                  b. Failing to disclose to Plaintiff the true nature
 7                of the loan that is the subject of this action;
 8                c. Failing to give Plaintiff the requisite notice
                  and disclosures.
 9
10   (Compl. ¶123.) However, Plaintiffs do not allege the terms of the
11   contract(s) entered into between the parties or how Defendant’s conduct
12   frustrated any of its specific provisions.         Further, Plaintiffs have not
13   alleged facts supporting the existence of any “special relationship”
14   between the parties, or that they "did all, or substantially all of the
15   significant things that the contract required them to do." (Judicial
16   Council of California Civil Jury Instruction No. 325, Dec. 15, 2009 ed.)
17   Moreover, to the extent Plaintiffs' claim is based upon conduct occurring
18   during pre-loan negotiations, the implied covenant does not apply.
19   Therefore, Plaintiffs' claim for breach of the implied covenant of good
20   faith and fair dealing is dismissed.
21   10.    Injunctive Relief
22                Defendant seeks dismissal of Plaintiffs’ claim for “injunctive
23   relief,” arguing Plaintiffs have failed to state a single cause of
24   action, therefore they have not alleged that they will prevail on the
25   merits at trial. (Mot. 13:9-12.)
26                Under federal law, an injunction is a remedy, not a claim in
27   and of itself. See Curtis v. Option One Mortg. Corp., No. 109-cv-1608 AWI
28   SMS, 2010 WL 599816, at *13 (E.D. Cal. Feb. 18, 2010)(citing Washington


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 1   Toxics Coalition v. Environmental Protection Agency, 413 F.3d 1024, 1034
 2   (9th Cir. 2005). Similarly, under California law, an injunction is a
 3   remedy, not a cause of action. Id. (citing Shamsian v. Atlantic Richfield
 4   Co., 107 Cal.App.4th 967, 985 (2003)). Therefore, Plaintiffs’ purported
 5   “cause of action” for injunctive relief is dismissed.
 6                                  IV. CONCLUSION
 7              For the stated reasons, Defendant’s motion to dismiss is
 8   granted and denied in part. Plaintiffs are granted ten (10) days from the
 9   date on which this order is filed to file a First-Amended Complaint.
10   Dated:   June 29, 2010
11
12                                    GARLAND E. BURRELL, JR.
13                                    United States District Judge

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